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                       IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

 UNITED STATES OF AMERICA                                                           PLAINTIFF

 v.                                 No. 5:12-cv-50035-002

 K. VAUGHN KNIGHT                                                                 DEFENDANT

                        JUDGMENT OF ACQUITTAL—COUNT 3

       Pursuant to the Court’s order entered this same date, the Court finds Defendant, K. Vaughn

 Knight, not guilty of Count 3 of the Fourth Superseding Indictment. IT IS THEREFORE

 ORDERED AND ADJUDGED that the Defendant is acquitted as to Count 3.

       IT IS SO ORDERED AND ADJUDGED this 10th day of June, 2014.


                                                           /s/P. K. Holmes, III
                                                           P.K. HOLMES, III
                                                           CHIEF U.S. DISTRICT JUDGE
